Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 1 of 11 PageID #: 12098




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  UNITED STATES OF AMERICA, ET AL.,               §
  EX REL. CALEB HERNANDEZ &                       §
  JASON WHALEY, RELATORS                          §
                                                  §
                                                  §
                 Plaintiffs,                      §
                                                  §
  v.                                              §   CIVIL ACTION NO. 2:16-CV-00432-JRG
                                                  §
  TEAM FINANCE, L.L.C., TEAM                      §
  HEALTH, INC., TEAM HEALTH                       §
  HOLDINGS, INC., AMERITEAM                       §
  SERVICES, L.L.C., HCFS HEALTH                   §
  CARE FINANCIAL SERVICES, L.L.C.,                §
  QUANTUM PLUS, L.L.C., (D/B/A                    §
  TEAMHEALTH WEST),                               §
                                                  §
                 Defendants.                      §

                                             ORDER

        Before the Court is Loren Adler’s (“Adler”) Motion to Intervene by Loren Adler for the

 Limited Purpose of Challenging the Court’s Sealing Orders (the “Motion to Intervene”) (Dkt.

 No. 440) and Adler’s Motion to Unseal Documents on Public Docket (the “Motion to Unseal”)

 (Dkt. No. 442). Having considered the motions, briefing, and relevant authorities, the Court is of

 the opinion that the Motion to Intervene should be and hereby is DENIED for the reasons set

 forth herein. The Court finds that the Motion to Unseal should be and hereby is DENIED AS

 MOOT.

 I.     BACKGROUND

        On April 25, 2016, Relators Dr. Caleb Hernandez and Jason Whaley (together, “Relators”

 or “Plaintiffs”) filed this case against Defendants Team Finance, L.L.C., Team Health, Inc.,

 Team Health Holdings, Inc., Ameriteam Services, L.L.C., HCFS Health Care Financial Services,
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 2 of 11 PageID #: 12099




 L.L.C., and Quantum Plus, L.L.C. (collectively, “Team Health” or “Defendants”) pursuant to the

 qui tam provisions of the False Claims Act, 31 U.S.C. §§ 3729 et seq. (Dkt. No. 2.) On June 28,

 2018, the United States filed its Notice of Election to Decline Intervention. (Dkt. No. 20.) On

 July 2, 2018, the Court entered an order unsealing the case and ordering Relators to serve their

 complaint on Defendants. (Dkt. No. 21.) After lengthy litigation, and on the eve of trial,

 Relators and Defendants (the “Parties”) filed a Joint Motion to Stay All Deadlines and Notice of

 Settlement. (Dkt. No. 423.) On June 25, 2021, the Court accepted and acknowledged the

 Parties’ Stipulation of Dismissal and closed the case, noting that the Court retained jurisdiction

 for the purpose of enforcing the settlement agreement between the Parties. (Dkt. No. 439.)

        On December 14, 2021, Adler moved to intervene “for the limited purpose of seeking

 public access to records sealed in this matter.” (Dkt. No. 440 at 2; Dkt. No. 442.) Adler

 identifies himself as Associate Director of the USC-Brookings Schaeffer Initiative for Health

 Policy, where he “focus[es] on a range of topics related to health care economics and policy

 . . . .” (Dkt. No. 440 at 3; Dkt. No. 443-1 at ¶ 1.) Adler purports to “stud[y] and publish[]

 extensively on TeamHealth” and “believes that the information in this case would be highly

 informative to his work . . . .” (Dkt. No. 440 at 4.)

        On December 17, 2021, the United States filed a Response in Partial Opposition stating

 that while it does not take a position on Adler’s request to unseal documents filed subsequent to

 its election to decline intervention, the United States opposes Adler’s request to the extent he

 seeks to unseal any of the United States’ pre-intervention pleadings. (Dkt. No. 448 at 1.)

 Relators have not filed any response to Adler’s Motion to Intervene or Motion to Unseal.

 Defendants oppose Adler’s Motion to Intervene and Motion to Unseal. (Dkt. Nos. 449, 450.)




                                                   2
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 3 of 11 PageID #: 12100




 II.    LEGAL STANDARD

        A. Standing to Intervene

        “[I]n the absence of a live controversy in a pending case, an intervenor would need standing

 to intervene.” Newby v. Enron Corp., 443 F.3d 416, 422 (5th Cir. 2006). “The desire to intervene

 to pursue the vacating of [a] protective order and/or the unsealing of the record is not a justiciable

 controversy or claim, absent some underlying right creating standing for the movants.” Deus v.

 Allstate Ins. Co., 15 F.3d 506, 525 (5th Cir. 1994). The issue of whether one has standing to

 intervene in a closed case is separate from whether one has standing to move to unseal.

        B. Permissive Intervention Under Rule 24(b)

        Courts may permit intervention in a civil action on an applicant’s timely motion if the

 applicant: “(A) is given a conditional right to intervene by a federal statute; or (B) has a claim or

 defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

 24(b). As noted above, “[t]he desire to intervene to pursue the vacating of the protective order

 and/or the unsealing of the record is not a justiciable controversy or claim . . . .” Deus, 15 F.3d

 at 525. It is also not a “defense” under Rule 24(b)(1)(B). Accordingly, for a proposed intervenor

 to qualify under Rule 24(b)(1)(B) to intervene in a civil action, the intervenor must have some

 other claim or defense with a question of law or fact in common with the main action.

        A threshold issue regarding an applicant’s motion to intervene, whether as of right under

 Rule 24(a) or permissively under either prong of Rule 24(b), is that the application must be

 timely. Nat’l Ass’n for Advancement of Colored People v. New York, 413 U.S. 345, 365 (1973).

 Timeliness under the permissive intervention standard is evaluated more strictly than under

 mandatory intervention. Stallworth v. Monsanto Co., 558 F.2d 257, 266 (5th Cir. 1977); see also

 Rotstain v. Mendez, 986 F.3d 931, 942 (5th Cir. 2021).



                                                   3
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 4 of 11 PageID #: 12101




        Further, “[p]ermissive intervention is ‘wholly discretionary’ and may be denied even

 when the requirements of Rule 24(b) are satisfied.” Turner v. Cincinnati Ins. Co., 9 F.4th 300,

 317 (5th Cir. 2021) (quoting New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d

 452, 471–72 (5th Cir. 1984)).

 III.   Discussion

        Defendants urge the Court to deny Adler’s Motion to Intervene for numerous reasons,

 including: (i) Adler needed to—but did not—establish Article III standing to intervene in this

 closed case (Dkt. No. 450 at 7); (ii) Adler’s motion was untimely (id. at 2–5); and (iii) that Adler

 does not satisfy the other requirements of Rule 24(b) to warrant intervention (id. at 10). The

 Court addresses these in turn.

        A. Adler Lacks Standing to Intervene

        As to the threshold requirement of Article III standing, Defendants argue that Adler has

 not demonstrated that he has standing, which is a requirement to intervene in a closed case under

 Fifth Circuit precedent. (Dkt. No. 450 at 7 (citing Allen-Pieroni v. White, 694 F. App’x 339, 340

 (5th Cir. 2017), Newby, 433 F.3d at 422, and Deus, 15 F.3d 525–26).)

        Adler argues that he does not need to demonstrate standing to intervene for two reasons:

 (i) that the Court has not entered final judgment and so this is not a closed case (Dkt. No. 440 at

 7); and (ii) that Article III standing should not be required to intervene for the purpose of

 unsealing records at any stage of a case. (Id.) Adler cites to the law of other circuits in which

 courts have granted motions to unseal after a case has ended. (Id. at 7–8.) Adler also argues that

 standing is unnecessary because document unsealing is collateral to the main action, and the

 Court has jurisdiction to decide collateral issues after a case has settled. (Id.; Dkt. No. 456 at 6.)

        The Court agrees with Defendants that whether or not document unsealing is a collateral

 issue is not the relevant inquiry. (Dkt. No. 460 at 3, 6.) To resolve Adler’s Motion to Intervene,

                                                   4
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 5 of 11 PageID #: 12102




 the issue for the Court to decide is whether Adler has, in the first place, Article III standing to

 intervene in a closed case. The Court finds that Adler must demonstrate that he has standing to

 intervene in this closed case. For the reasons set forth below, Adler has not done so, and

 intervention is not proper.

        The Court dismissed this case with prejudice on June 25, 2021. (Dkt. No. 439.) A

 dismissal with prejudice is a final judgment on the merits and closes the case. See Brooks v.

 Raymond Dugat Co., 336 F.3d 360, 362 (5th Cir. 2003) (citing Schwarz v. Folloder, 767 F.2d

 125, 129–30 (5th Cir. 1985)). Adler filed his Motion to Intervene on December 14, 2021, nearly

 six months after this case had been closed. (Dkt. No. 440.) Thus, the “firmly established” rule

 in this circuit applies, in which “[i]n the absence of a live controversy in a pending case, an

 intervenor would need standing to intervene.” Newby, 443 F.3d at 422; Allen-Pieroni, 694 F.

 App’x at 340.

        For constitutional standing, a “plaintiff must have suffered an injury in fact” that is

 “fairly traceable to the challenged action” and that likely “will be redressed by a favorable

 decision.” Lujan v. Defs. Of Wildlife, 504 U.S. 555, 560–61 (1992); United States v. Aldawsari,

 683 F.3d 660, 644 (5th Cir. 2012). Adler alleges he has demonstrated standing to intervene

 because “[h]e is being deprived of information that he is uniquely well-qualified to study and

 publicize in his academic work, and which information he can get nowhere else.” (Dkt. No. 440

 at 8.) Adler admits that he “has no pending or potential legal claims against TeamHealth. He

 only has a need for the documents, which he has no other way to obtain.” (Id. at 9.) Adler’s

 alleged injury, therefore, is that he cannot access the sealed documents in this case. (Id. at 11.)

        However, like the intervenor in Deus, where “[t]he only purpose of the attempted

 intervention was to gain access to documents and testimony that are subject to the protective



                                                   5
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 6 of 11 PageID #: 12103




 order,” Adler cannot demonstrate standing by his “general interest” in sealed information he

 merely believes would be highly informative to his research and likely to be of public interest.

 (See id. at 4; Dkt. No. 443-1 at ¶¶ 5–6; see also Dkt. No. 450 at 9.) “The desire to intervene to

 pursue the vacating of the protective order and/or the unsealing of the record is not a justiciable

 controversy or claim, absent some underlying right creating standing for the movants.” Deus, 15

 F.3d at 525. Adler’s position thus falls squarely into the application of Deus, and the Court finds

 that he has not demonstrated standing to intervene.

        Adler’s lack of standing is reason enough to deny Adler’s Motion to Intervene in this

 closed case. However, in abundance of caution and for the sake of completeness, the Court

 considers the following remaining issues.

        B. Adler’s Motion to Intervene was Untimely

        Rule 24(b) recites, in part:

                On timely motion, the court may permit anyone to intervene who:

                        (A) is given a conditional right to intervene by a federal
                        statute; or

                        (B) has a claim or defense that shares with the main action
                        a common question of law or fact.

 Fed. R. Civ. P. 24(b)(1) (emphases added). Timeliness in the permissive intervention context is

 stricter than that of mandatory intervention, with four factors to be considered in evaluating

 timeliness: (1) the length of time the movant waited to file; (2) the prejudice to the existing

 parties from any delay; (3) the prejudice to the movant if the intervention is denied; and (4) any

 unusual circumstances. Stallworth, 558 F.2d at 264–66.

        Thus, another threshold issue is whether Adler’s Motion to Intervene, filed nearly six

 months after the case was closed, was timely. The Court finds that it was not.



                                                   6
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 7 of 11 PageID #: 12104




        Defendants argue that all four of the Stallworth factors weigh against timeliness and so

 Adler’s Motion to Intervene should be denied as untimely. (Dkt. No. 450 at 2–7.)

        Adler does not address the Stallworth factors but instead argues that they “have no

 application here” because Adler seeks to intervene on the collateral issue of unsealing, citing the

 law of another circuit. (Dkt. No. 456 at 2.) Adler contends that a court may properly consider

 the unsealing of judicial records “at any time,” again citing the law of other jurisdictions. (Id. at

 1; Dkt. No. 440 at 7–8.) Adler relies on Bradley ex rel. AJW v. Ackal, 954 F.3d 216 (5th Cir.

 2020) for the proposition that “a court can consider ‘collateral issues,’ including unsealing, after

 an action is no longer pending.” (Dkt. No. 456 at 1.)

        In Bradley, the third party movants in the district court in that case sought intervention as

 a matter of right under Rule 24(a)(2), and filed their motion to intervene about four months after

 that case was dismissed without prejudice. As Defendants point out, the Fifth Circuit’s opinion

 in Bradley did not address timeliness in the context of permissive intervention, nor did it address

 intervention in general—the third party in that case had already been allowed to intervene and

 timeliness was not contested. (Dkt. No. 460 at 3.) Bradley does not stand for the proposition

 that a motion to intervene four months after dismissal is timely, especially in the context of

 permissive intervention. Adler’s reliance on Bradley is misplaced.

        The applicable standard here is Stallworth. Under the first Stallworth factor, the length of

 time during which Adler actually knew or reasonably should have known of his interest in the

 case before he petitioned for leave to intervene was significant. Stallworth, 558 F.2d at 264.

 Defendants have persuasively shown that Adler “should have known of his interest in

 intervening from the time the protective order he objects to was entered 2.5 years ago (ECF 69)

 [July 10, 2019] or at least from the first time information he claims should be public was sealed



                                                   7
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 8 of 11 PageID #: 12105




 18 months ago (ECF 139) [June 10, 2020].” (Dkt. 450 at 3.) From Adler’s self-professed

 interest in Team Health (Dkt. No. 440 at 3 (“Mr. Adler studies and publishes extensively on

 Team Health . . . .”)), it is reasonable to infer that Adler knew or should have known of the

 publicly-accessible docket of this case at least since the July 2, 2018 Order unsealing this case.

 (Dkt. No. 21.) Defendants have further pointed to Adler’s online activity revealing he was

 following Team Health and the litigation it was involved in since at least as early as December 9,

 2019. Adler’s unexplained delay of anywhere from 1.5 to 2.5 years (after when he should have

 known of his interest in the case until attempting to intervene) weighs strongly against

 timeliness. See, e.g., United States v. Covington Cnty. Sch. Dist., 499 F.3d 464, 465–66 (5th Cir.

 2007) (finding 15 weeks to be untimely); Engra, Inc. v. Gabel, 958 F.2d 643, 645 (5th Cir. 1992)

 (finding 8 months to be untimely); United States v. U.S. Steel Corp., 548 F.2d 1232, 1235 (5th

 Cir. 1977) (finding “almost a year” to be untimely); see also Hill, 2015 WL 11117873, at *3

 (finding “several month delay” to be untimely).

        Under the second Stallworth factor, the prejudice to the existing parties, including

 Defendants, caused by Alder’s delay also weighs against a finding of timeliness. Adler’s failure

 to assert his purported rights to access sealed documents in a timely manner would force

 Defendants to relitigate issues that they justifiably thought were resolved, including Defendants’

 Motions for Protection Regarding Confidentiality Designations (Dkt. Nos. 263, 327), which were

 decided nearly a year prior to Adler’s Motion to Intervene. See Engra, 958 F.2d at 645. Adler’s

 broad request for all sealed documents in the case (see Dkt. No. 442 at 3, 15) also tips this factor

 toward a finding of untimeliness, as the breadth of the request risks “duplication, inefficiency,

 and increased costs.” Rotstain, 986 F.3d at 938. Adler’s arguments regarding prejudice to

 TeamHealth, relying on out-of-circuit authority (Dkt. No. 456 at 4), are unavailing.



                                                   8
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 9 of 11 PageID #: 12106




         Under the third Stallworth factor, the Court finds that Adler will suffer little, if any,

 prejudice if the Motion to Intervene is denied. Adler complains that he and the public will be

 prejudiced if they are denied access to the sealed records in this case because “how and how

 much TeamHealth bills the federal government is central to his research into health care pricing,

 and he cannot get the information from any other source.” (Dkt. No. 456 at 5.) The Court

 appreciates the right of the public to access court records, but the decision to seal or unseal

 records is best left to the trial court “in light of the relevant facts and circumstances of the

 particular case.” Vantage Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450 (5th

 Cir. 2019). Adler’s interests related to sealing and confidentiality were adequately represented

 earlier in this case by Relators, and to the extent Adler seeks only “general” information, that

 information could be sought elsewhere, without unsealing.

         Under the fourth Stallworth factor, Adler has not made a convincing showing of any

 unusual circumstances that militate in favor of a determination of timeliness. Likewise,

 Defendants argue that this case is “arguably ‘unusual’ only in that it was a FCA case brought on

 behalf of the United States, which was also a party to the settlement and stipulated dismissal.”

 (Dkt. No. 450 at 7.) The Court finds that there are no unusual circumstances militating for or

 against timeliness, and thus this factor is neutral.

         Under the totality of the circumstances, and considering the four Stallworth factors

 discussed above, the Court finds that Adler’s Motion to Intervene is untimely. Jones v. Caddo

 Parish Sch. Bd., 735 F.2d 923, 927 (5th Cir.1984). Adler has failed to rebut Defendants’

 arguments that the Stallworth factors support a finding of untimeliness. He instead argues that

 Stallworth is inapplicable. However, Stallworth is the law in this circuit, and considering those

 factors analyzed above, the Court finds Adler’s Motion to Intervene is untimely.



                                                    9
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 10 of 11 PageID #: 12107




        C. Adler Does Not Meet Either Prong of Rule 24(b)(1) for Permissive Intervention

        Adler has not argued that he has been “given a conditional right to intervene by a federal

 statute” under Rule 24(b)(1)(A). Instead, Adler argues that permissive intervention is proper

 because he “has a claim or defense that shares with the main action a common question of law or

 fact” under Rule 24(b)(1)(B). The Court finds, however, that Adler has not satisfied the “claim

 or defense” prong of the Rule.

        Adler argues that he “shares a question of fact and law with Relators, who formally

 disputed TeamHealth’s blanket confidentiality designations and objected to the prospect of

 having to seal exhibits used at trial.” (Dkt. No. 440 at 6.) Adler contents that “[t]he fact that Mr.

 Adler seeks to unseal documents is all that is needed to satisfy the common question, or ‘nexus’

 requirement.” (Id. at 5.) Adler again cites out-of-circuit precedent to allege that there is no need

 for a “strong nexus” when seeking to intervene only for modifying a protective order. (Id.)

        Defendants argue that “Adler has neither a claim nor defense, and his asserted ‘interest’

 shares no common question of law or fact with the FCA allegations that were already litigated in

 this case.” (Dkt. No. 450 at 10.) To the extent that Adler’s asserted “interest” in unsealing

 documents is a claim against Defendants, Defendants argue that the issues related to sealing and

 confidentiality were resolved long ago. (Id.)

        The Court finds that Adler has not alleged a “claim or defense that shares with the main

 action a common question of law or fact” under Rule 24(b)(1)(B). “The desire to intervene to

 pursue the vacating of the protective order and/or the unsealing of the record is not a justiciable

 controversy or claim . . . .” Deus, 15 F.3d at 525. Thus, Adler’s request to unseal documents is

 not a “claim” under Rule 24(b)(1)(B). Adler has alleged no other “claim or defense” that

 provides a basis for permissive intervention under Rule 24(b). Whether or not Adler’s alleged



                                                  10
Case 2:16-cv-00432-JRG Document 464 Filed 09/28/22 Page 11 of 11 PageID #: 12108




 “interest” shares a nexus with the main action a common question of law or fact is beside the

 point.

 IV.      Conclusion

          The Court finds that Adler has not established Article III standing to intervene in this
     .
 closed case; that Adler’s motion is untimely; and that Adler does not satisfy the requirements of

 Rule 24(b) to warrant permissive intervention. Any of these independent grounds is alone

 sufficient to deny the relief which Adler seeks.

          Based on the foregoing, the Court DENIES Adler’s Motion to Intervene (Dkt. No. 440).

 Since Adler has not successfully intervened in this matter, the Court DENIES AS MOOT

 Adler’s Motion to Unseal (Dkt. No. 442).

          So ORDERED and SIGNED this 28th day of September, 2022.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




                                                    11
